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                        7   Mohammad Etminan, M.D.
                        8
                        9                     UNITED STATES DISTRICT COURT
                       10                   SOUTHERN DISTRICT OF CALIFORNIA

                       11
THIGPEN LEGAL, P.C.




                            MOHAMMAD ETMINAN, M.D.,               Case No.   '24CV0395 GPC DEB
                       12
                       13                         Plaintiff,
                       14                                         DISCLOSURE STATEMENT [FED.
                                 vs.                              R. CIV. P. 7.1]
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                       16   ALPHATEC SPINE, INC.,

                       17                         Defendants.
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                                                  DISCLOSURE STATEMENT
                      Case 3:24-cv-00395-GPC-DEB Document 1-2 Filed 02/28/24 PageID.8 Page 2 of 2



                        1         Plaintiff Mohammad Etminan, M.D. (“Plaintiff” or “Etminan”) submits this
                        2   disclosure statement pursuant to Fed. R. Civ. P. 7.1 in this action where subject
                        3   matter jurisdiction is based on diversity jurisdiction under 28 U.S.C. § 1332(a)(1).
                        4   Etminan discloses that he is currently a citizen of Texas. Etminan is an adult
                        5   individual who, at times relevant to this action, is a citizen of the United States and
                        6   has been domiciled in Texas, and at the time of the filing of this Complaint,
                        7   Etminan resides in Houston, Texas with the intention to remain.
                        8
                        9                                              THIGPEN LEGAL, P.C.

                       10
                            Dated: February 27, 2024             By:      /s/ Jordanna G. Thigpen
                       11                                              Jordanna G. Thigpen
THIGPEN LEGAL, P.C.




                       12                                              Attorneys for Plaintiff
                       13                                              Mohammad Etminan, M.D.
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                                                       DISCLOSURE STATEMENT
